Case.6:25-c-00005-JSS-0F

Exhibit No.:

Vs:

DocuménDEed¢t C *Fifed 11/05/84
Middle District of Florida
Orlando Division

GOVERNMENT EXHIBIT

a

Case No.: 6:24-mj-2118-DCI

UNITED STATES OF AMERICA

MICHAEL SCHEUER
Date Identified:_| \ \S \14

Date Admitted:

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IN THE CIRCUIT COURT OF Gi . JUDICIAL CIRCUIT,
IN AND FOR f arise COUNTY, FLORIDA
a cua: LOU D860
Petitioner, U /
Division:
and
Michad  Scheser 4
Respondent.

PETITION FOR INJUNCTION FOR PROTECTION AGAINST STALKING

|, {full legal name}
that the following statements are true:

, declare under penalties of perjury,

| SECTION |. PETITIONER

{This section is about you. It must be completed; however, if you require that your address be confidential for

I safety reasons, you should complete and file a Request for Confidential Fiting of Address, Florida Supreme Court

, Approved Family Law Form 12.980(h), and write “confidential” in the space provided on this form for your address
and telephone number.)

1. Petitioner resides at the i i zip code} i

{indicate if applicable}
Petitioner seeks an injunction for protection on behalf of a minor child. Petitioner is the parent or

legal guardian of {full legal name} , a minor child who is living
at home.

2. Petitioner's attomey’s name, address, and telephone number is: Aghe@

(If you do not have an attorney, write “none.”)

SECTION IL RESPONDENT
{This section is about the person you want to be protected from, It must be completed.)

1. Respondent resides at the following ad : (provide last known street address, city, state, and zip code}
6143 Gygrers in SMe deter fl. Ayas7

2. Respondent's last known place 7 opprmete Welt Vuney Weld
‘Doractt

Employment address: 26 #3 Grek I" dhe Tena visa FL 32830
Working hours of Respondent: Ars

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3. Physical description of Respondent: Tm.
Race: White, Sex: Male Female [_] Date of Birth: __Y ak new

Height: vals Weight: ule Eye Color: vakaevn Hair Color: Bleade [haya
Distinguishing marks and/or scars: we

Vehicle: (make/model)_f Ad Color: falude Tag Number (ifknown) WE Yt ZO4

4. Other names Respondent goes by (aliases or nicknames):__ # (A

5. Respondent's attorney's name, address, and telephone number is: __ ¥ A\nowe A .

(if you do not know whether Respondent has an attomey, write “unknown.” If Respondent does not have
an attomey, write “none.”)}

SECTION ill. CASE HISTORY AND REASON FOR SEEKING PETITION (This section must be completed.)

1. Has Petitioner ever received or tried to get an injunction for protection against stalking against Respondent
in this or any offier court?

Yes No If yes, what happened in that case? {include cose number, if known}

2. Has Respondent ever received or tried to get an injunction for protection against stalking against Petitioner
in this or an er court?

Yes No If yes, what happened in that case? {include case number, if known}

3. Describe any other court case that is either going on nqw or that happened in the past beeen Petitioner
and Respondent {include case number, ifknown}:_federel GAnSrd Ariel Yo

_Sogeler admes + wilness _iatinidohie? Ts beinring

4. Petitioner is a victim of stalking because Respondent has: {please mark all sections that apply}
a. Committed stalking;
b.| WA Previously threatened, harassed, stalked, cyberstalked, or physically abused the Petitioner;
c Threatened to harm Petitioner or family members or individuals closely associated with Petitioner;
aL _| intentionally injured or killed a family pet;
el lused, or threatened to use, against Petitioner any weapons such as guns or knives;
el la criminal history involving violence or the threat or violence, if known:

el [another order of protection issued against him or her previcusly from ancther jurisdiction, if
known;

rL_| pestroyed personal property, including, but not limited to, telephones or other communication
equipment, clothing, or other items belonging to Petitioner.

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5.

Below is a description of the specific incidents of stalking or cyberstalking: {for cybersta/king, please include
adescription of all evidence of contacts and/or threats made by Respondent in volce messages, texts, emails,
or other electronic communication}

On {dotes}_ #9 197 22/2% the following incidents of stalking occurred at the following locations:
{the locations may include, but need not he limited to, a home, school, or place of employment}

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of hus dar- deste. he hed iwtesy + horn te +
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| [Please indicate here if you are attaching additional pages to continue these facts.

information
Respondent owns, has, and/or is known to have guns or other pons

Describe weapon(s) and whe they ay be fecated, if known ! oon Srmed dhe,
até are ‘ak eax | gun

SECTION IV. INJUNCTION {This section must be completed}

1.

Petitioner asks the Court to enter a TEMPORARY INJUNCTION for protection against stalking that will be in
place from now until the scheduled hearing in this matter, which will immediately restrain Respondent from
committing any acts of stalking, and which will provide any terms the Court deems necessary for the
protection of a victim of statking, Induding any Injunctions or directives to law enforcement agencies.

Petitioner asks the Court to enter, after a hearing has been held on this petition, a FINAL JUDGMENT for

protection against stalking prohibiting Respondent from committing any acts of stalking against Petitioner
and:

a. prohibiting Respondent from going to or within 500 feet of any place Petitioner lives, or to any specified

place regularly any named family members or individyals closely associated
with Petitioner: db

b. prohibiting Respondent from going to or within S00 feet of Petitioner's place(s) of employment or the
sn that Petitioner attends; the address of Petitioner's place(s) of employment and/or school is:___—_
iw c

c. prohibiting Respondent from contacting Petitioner by telephone, mail, by e-mail, in writing, through
another person, or in any other manner;

d. ordering Respondent that he or she shall not have in his or her care, custody, possession, or control any
firearm or ammunition;

e. prohibiting Respondent from knowingly and intentionally going to or within 100 feet of Petitioner's motor
vehicle, whether or not that vehicle is occupied;

Petitioner asks the Court to enter any other terms it deems necessary to protect Petitioner from stalking by
Respondent.

| UNDERSTAND THAT BY FHLING THIS PETITION, | AM ASKING THE COURT TO HOLD A HEARING ON THIS PETITION,

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THAT BOTH THE RESPONDENT AND | WILL BE NOTIFIED OF THE HEARING, AND THAT | MUST APPEAR AT THE
HEARING, | UNDERSTAND THAT IF EITHER RESPONDENT OR | FAIL TO APPEAR AT THE FINAL HEARING, WE WILL
BE BOUND BY THE TERMS OF ANY INJUNCTION OR ORDER ISSUED AT THAT HEARING.

UNDER PENALTIES OF PERJURY, I DECLARE THAT | HAVE READ THE FOREGOING DOCUMENT AND THAT THE FACTS
STATED IN IT ARE TRUE. | UNDERSTAND THAT THE STATEMENTS MADE IN THIS PETITION ARE BEING MADE UNDER
PENALTIES OF PERIURY, PUNISHABLE AS PROVIDED IN SECTION 92.525, FLORIDA STATUTES.

patea:_!/24/ 94

IF A NONLAWYER HELPED YOU FILL OUT THIS FORM, HE/SHE MUST FILL iN THE BLANKS BELOW:
[fill in afl blanks) This form was prepared for the: {choose only one}( } Petitioner ( ) Respondent
This form was completed with the assistance of:

{name of individual}
{name of business or individual}
{address}

{city} {state}, {telephone number}
{email address}

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